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                         DECLARATION OF GARRETT E. DREW

       I, Garrett E. Drew, declare under penalty of perjury as follows:

       1.      I submit this declaration in support of the motion for detention filed by the United

States in United States v. Xavier Pelkey, case number 1:22-mj-00022-JCN in the U.S. District

Court for the District of Maine.

       2.      I am a Special Agent with the Federal Bureau of Investigation, and have served in

that position since March 1, 2020. I am currently assigned to the FBI’s Portland, Maine Resident

Agency. As part of my duties as an FBI Special Agent, I investigate criminal violations relating

to international and domestic terrorism and other threats to national security and public safety.

       3.      Prior to joining the FBI, I was a Special Agent with the United States Secret

Service from 2015 to 2020. Among other assignments, I was detailed to the FBI Joint Terrorism

Task Force as an investigator in the FBI New York Field Office. From 2009 until 2015, I was

employed as a police officer in Portsmouth, New Hampshire.

       4.      I am one of the agents assigned to the investigation of Xavier Pelkey. In that role,

I have obtained information through my own investigation, and I have received information from

other law enforcement personnel and from persons with knowledge regarding relevant facts.

       5.      On February 5, 2022, FBI agents in Chicago executed a federal search warrant at

the residence of a 15-year-old male, whom I will call Juvenile #1 in this Declaration. During the

investigation that led to the search warrant, FBI investigators had learned that Juvenile #1 had

conspired with two other individuals, one of whom identified himself as “Abdullah,” to meet him

in the Chicago area and conduct a violent attack. Juvenile #1 and the other two individuals

communicated online using Instagram as well as other chat applications.
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        6.      Following the execution of the search warrant at his residence on February 5,

Juvenile #1 spoke with FBI agents. He told them that he, Abdullah and the third individual had

planned to attack an identified Shia Muslim mosque in the Chicago area. I know from my

experience in counterterrorism investigations that adherents of Islamic extremist groups such as

ISIS consider other Muslims, including the Shia sect of Islam, as non-Muslims and have

historically targeted them in terrorist attacks.

        7.      Juvenile #1 told investigators that the plan was for Abdullah and the other

individual to meet him in Chicago in late March, during “spring break.” Abdullah and the other

individual would travel by bus or train to meet Juvenile #1. Abdullah’s responsibility was to

acquire additional firearms and ammunition. Abdullah informed Juvenile #1 that he had built an

explosive device, in order to “get more people.”

        8.      Juvenile #1 further explained that they would enter the Shia mosque and separate

the adults from the children, then murder the adults. If they had not encountered law enforcement

at that point, they would continue on to another Shia mosque or Jewish synagogue and execute

the same plan. They did not have a plan to escape but rather their plan ended with them being

shot by law enforcement.

        9.      Juvenile #1 said that when Abdullah communicated with him over Instagram,

Abdullah used an Instagram account with the username “Abdullah.ibn.ahmad.”

        10.     Agents from Chicago FBI seized multiple firearms, including a Remington pump

shotgun, swords, knives, a bow and arrows, multiple homemade ISIS flags, and multiple

electronic devices from Juvenile #1’s residence.

        11.     On February 13, 2022, FBI agents in Kentucky executed a search warrant at the

residence of a 17-year-old male, whom I will call Juvenile #2 in this Declaration. Juvenile #2



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was suspected of conspiring to provide material support to a foreign terrorist organization. In an

interview with FBI agents during the execution of the search warrant, Juvenile #2 stated that he

had communicated online with Abdullah, who used an Instagram account with the username

Abdullah.ibn.ahmad. Juvenile #2 said that Abdullah had talked about gathering materials to

make fireworks to attack someone. Juvenile #2 also said that Abdullah told him that he wanted

Allah to grant him to be a shaheed and die while fighting in the cause of Allah. I know from my

training and experience that “shaheed” is an Arabic word that means a martyr in Islam.

       12.     As part of FBI’s investigation, on February 8, 2022, Facebook was served with an

emergency disclosure request for the Instagram account with the username Abdullah.ibn.ahmad.

Meta Inc.’s response to the request included several IP addresses used to access the account,

including the following:

       •       108.183.186.1;

       •       2603:7081:6d02:6200:8936:5802:4edc:8d1f; and

       •       2603:7081:6d02:6200:bdba:e892:537d:b563.

       13.     A subsequent emergency disclosure request was issued to Charter

Communications, the owner of the IP addresses provided by Meta Inc. Charter disclosed that all

three IP addresses resolved to an account registered to an individual at 80 Front Street Apartment

1, Waterville, ME 04901.

       14.     Other FBI investigators and I executed a search warrant at 80 Front Street

Apartment 1 in Waterville on February 11, 2022. Xavier Pelkey was present at the apartment. He

agreed to answer some questions from investigators. He confirmed that he was the owner of the

Instagram account with the username Abdullah.ibn.ahmad.




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       15.     As noted in the affidavit that my colleague Special Agent Nathan Jacobs

submitted in support of the criminal complaint filed against Xavier Pelkey on February 11, FBI

investigators found three homemade explosive devices in a backpack in the corner of Pelkey’s

bedroom.

       16.     On the wall of Pelkey’s bedroom, investigators observed a hand-painted version

of the flag used by the foreign terrorist organization ISIS. The following is a photograph of the

flag, taken in the bedroom:




Investigators also found a smaller hand-painted version of the flag in the bedroom:




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       I declare under penalty of perjury that the foregoing is true and correct. Executed on
February 20, 2022.



                                                      /s/ Garrett E. Drew
                                                     Garrett E. Drew
                                                     Special Agent
                                                     Federal Bureau of Investigation




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